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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                                   )
                                                         )        CHAPTER 7
Geoffrey Farrell Zilberberg,                             )
                                                         )        CASE NO. 20-68775-pmb
         Debtor.                                         )
------------------------------------------------------
                                                         )
Heritage Select, LLC,                                    )
                                                         )
         Movant,                                         )
                                                         )        CONTESTED MATTER
v.                                                       )
                                                         )
Geoffrey Farrell Zilberberg,                             )
                                                         )
         Respondent.                                     )

                AMENDED MOTION FOR RELIEF FROM AUTOMATIC STAY AND
                      REQUEST FOR WAIVER OF RULE 4001(a)(3)

         COMES NOW, Heritage Select, LLC, Movant in the above-styled case, by and through

the undersigned attorney, and moves this Court for a relief from the automatic stay

pursuant to 11 U.S.C. §362 and requests for waiver of Rule 4001(a)(3), and shows this

honorable Court as follows:

                                                             1.

         Debtor is currently residing at a property owned by the Movant located at 971 Davis

Drive, Atlanta, Georgia 30327 (hereinafter “Property”).

                                                             2.

         On July 7, 2020, due to Debtor’s default on his mortgage payments, the Property was

sold to the Movant at a foreclosure sale.
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                                                3.

       On August 13, 2020 (made retroactive to July 7, 2020), NewRez LLC as Attorney in

Fact for Redwood Residential Acquisition Corp., as Attorney in Fact for Geoffrey Farrell

Zilberberg, conveyed a Deed Under Power for the Property to Heritage Select LLC. (the

“Deed Under Power”). This Deed Under Power was recorded in Deed Book 62134 Page

107, Fulton County Georgia Records. A true and correct copy is attached hereto as Exhibit

“A”. Movant is the current owner of the Property.

A.     LIFT STAY IN SUPERIOR COURT ACTION

                                                4.

       On August 5, 2020, prior to filing of this bankruptcy case, Debtor filed a “Verified

Complaint for Emergency Injunctive Relief, Wrongful Foreclosure, Quia Timet and Other

Relief” (hereinafter “Injunctive Complaint”), against Redwood Residential Acquisition

Corp., Newrez LLC d/b/a Shellpoint Mortgage Servicing, and Heritage Select, LLC, to

challenge the foreclosure sale in Civil Action No. 2020CV339006, in the Superior Court of

Fulton County. (the “Superior Court Action”).

                                                5.

       In the Superior Court Action, the Debtor requested and obtained an emergency

hearing on his Motion for Interlocutory Injunction or Temporary Restraining Order before

the Honorable Judge Thomas Cox, which was held August 6, 2020. At the emergency

hearing, Judge Cox announced he was ruling against the Debtor.

                                                6.

       In a bit of forum shopping and procedural gamesmanship, after learning that he was

not receiving a favorable result in the Superior Court Action, on August 6, 2020, Debtor
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filed the above-styled case as a Chapter 13 case. The Debtor caused his counsel to

announce to the Superior Court that it had been filed during the hearing. Thereafter,

Debtor’s counsel claimed to the Court through email correspondence that an automatic

stay was in place which would also have prevented Judge Cox from filing any orders.

                                                7.

       Despite the filing of this action on August 6, 2020, an Order Denying Plaintiff’s

Motion for Interlocutory Injunction or Temporary Restraining Order was filed on August

11, 2020 in the Superior Court Action. A true and correct copy is attached as Exhibit “B”.

                                                8.

       On August 11, 2020, at the request of the Debtor, the case was converted to a

Chapter 7 case.

                                                9.

       Movant respectfully submits that the Superior Court Action was not stayed by this

bankruptcy action, because it is an action brought by the Debtor. See 11 U.S.C. § 362;

Martin–Trigona v. Champion Fed. Sav. & Loan Ass'n, 892 F.2d 575, 577 (7th Cir.1989) (the

automatic stay is inapplicable to suits by the debtor); Carley Capital Group v. Fireman's

Fund Ins. Co., 889 F.2d 1126, 1127 (D.C.Cir.1989) (same); see also Victor Foods, Inc. v.

Crossroads Econ. Dev. of St. Charles County, Inc., 977 F.2d 1224, 1227 (8th Cir.1992); Trans

Caribbean Lines, Inc. v. Tracor Marine, Inc., 49 B.R. 360, 362 (S.D.Fla.1985) (stating that the

automatic stay provision only applies to proceedings against the debtor).

                                                10.

       However, in an abundance of caution, Movant moves the Court to lift any stay

regarding the Superior Court Action (including the Defendants’ rights to file
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counterclaims), to confirm that the Order Denying Plaintiff’s Motion for Interlocutory

Injunction or Temporary Restraining Order was not void for being in violation of a stay, or

alternatively to retroactively lift any stay regarding the Superior Court Action and the

Order.

B.       LIFT STAY TO ALLOW POST-FORECLOSURE DISPOSSESSORY ACTION

                                               11.

         Upon information and belief, Debtor and/or his personal items, are still occupying

the Property. Debtor has not provided any adequate assurance he will vacate, or that he

will compensate Movant for any financial loss resulting from both Debtor’s continued

presence in the Property. Moreover, there has not been any adequate assurance or notice

(formal or informal) that Debtor will vacate at any point in time in the future.

                                               12.

         Debtor has caused Movant undue hardship and acted in bad faith. Movant is unable

to move forward with taking possession of its Property and will continue to incur costly

attorney fees.

                                               13.

         Because Debtor has not demonstrated or made known any intentions to vacate the

premises, nor has Debtor submitted any documentation to the contrary under the

provisions of the bankruptcy code, Movant is not adequately protected. For the above and

foregoing reasons, Movant asserts cause exists sufficient to waive the requirements of

Bankruptcy Rule 4001(a)(3), therefore allowing an Order to be effective upon this

Honorable Court’s signature.
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                                               14.

       Movant respectfully requests that this Court provide an Order stating that the

automatic stay is no longer in effect so that Movant can move forward with taking

possession of its Property including but not limited to pursing a dispossessory proceeding

related to this Property, and obtaining any rent, attorney’s fees or other damages, pursuant

to state law.

C.     LIFT STAY TO CONFIRM VALIDITY OF DEED UNDER POWER

                                               15.

       The Debtor’s equity of redemption in the Property was foreclosed at the conclusion

of the foreclosure sale on July 7, 2020. See In re Taylor, 2018 WL 1267998 (Bankr. N.D. Ga.

2018) (applying reasoning of Tampa Inv. Group, Inc. v. Branch Banking and Trust Co., Inc.,

290 Ga. 724, 723 S.E.2d 674 (2012) opinion to hold equity of redemption terminates at

acceptance of high bid)); In re Gray, 37 B.R. 532 (Bankr. N.D. Ga. 1984) (holding sale

complete at acceptance of high bid), Accordingly, the Debtor had no more interest in the

Property which could be affected by these bankruptcy proceedings.

                                               16.

       However, in an abundance of caution, Movant moves the Court to confirm that

Redwood Residential Acquisition Corp. and Newrez LLC d/b/a Shellpoint Mortgage

Servicing properly caused the Deed Under Power for the Property to be conveyed and

delivered to Heritage Select, LLC, and that the execution, recording and delivery of the Deed

Under Power to Movant is not void for violating any stay. Alternatively, Movant moves the

Court to retroactively lift any stay regarding the execution, recording and delivery of the

Deed Under Power to Movant.
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      WHEREFORE, Movant prays:

      (a)   That this Court hold a hearing pursuant to this Motion within thirty (30) days

            as is required under 11 U.S.C. § 362 (e);

      (b)   That this Court enter an Order confirming that the Property was not the

            property of the Debtor at the time of filing and that the automatic stay in this

            case does not apply to the Property;

      (c)   That this Court enter an Order confirming the validity of the execution,

            delivery and recording of the Deed Under Power;

      (d)   That this Court enter an Order confirming that the Order Denying Plaintiff’s

            Motion for Interlocutory Injunction or Temporary Restraining Order entered

            by the Superior Court of Fulton County is valid;

      (e)   That this Court enter an Order confirming no stay is in place regarding the

            Superior Court Action;

      (f)   That this Court enter an Order granting relief from the automatic stay to

            allow Movant to take possession of its Property including but not limited to

            pursing a dispossessory proceeding related to this Property (including any

            claims for rent, damages, or attorney’s fees and expenses);

      (g)   That the Court order that Federal Rule of Bankruptcy Procedure 4001(a)(3)

            is not applicable so that Movant may immediately enforce and implement an

            order granting relief from the automatic stay; and

      (h)   That the Court grants such other and further relief as may be equitable and

            just under the circumstances.
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      This the 26th day of August, 2020.



                                              Respectfully submitted,
                                              BLEVINS & HONG, P.C.


                                              ______/s/________________
                                              Soo J. Hong
                                              Georgia Bar No. 129608
                                              Attorney for Movant
BLEVINS & HONG, P.C.
191 Roswell Street
Marietta, GA 30060
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                                                                                       Date: 8/11/2020 1:36 PM
                                                                                      Cathelene Robinson, Clerk

                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA

GEOFFREY FARRELL
ZILBERBERG,

       Plaintiff,

v.                                                        Case No.: 2020CV339006

REDWOODRESIDENTIAL
ACQUISITION CORP.; NEWREZ LLC
D/B/A SHELLPOINT MORTGAGE
SERVICING; and HERITGAGE
SELECT, LLC,

       Defendants.


  ORDER DENYING PLAINTIFF'S MOTION FOR INTERLOCUTORY INJUNCTION
                 OR TEMPORARY RESTRAINING ORDER

       This matter is before the Court on Plaintiff Geoffrey Farrell Zilberberg’s (“Plaintiff”)

Motion for Interlocutory Injunction or Temporary Restraining Order (the “Motion”), filed on

August 5, 2020. On August 6, 2020, the Court held a hearing via Zoom. The parties were

represented at the hearing by counsel. Plaintiff was represented by Thomas Stubbs, Defendants

Redwood Residential Acquisition Corp. (“Redwood”), and NewRez LLC d/b/a Shellpoint

Mortgage Servicing (“Shellpoint”) by Bret Chaness, and Defendant Heritage Select, LLC

(“Heritage”) by John Grimes. Testimony was heard from the Plaintiff, Natalie James, and Ian

Clark. After the hearing, the Court announced that the Motion was denied.! This Order

memorializes the ruling that was madeonthe record in open court on August 6, 2020.



' The hearing concluded just between 3:00 p.m. and 3:30 p.m.. Shortly before 4:00 p.m., Mr.
Stubbsfiled a “Suggestion of Plaintiff's Bankruptcy,” advising that the Plaintiff filed for Chapter
13 bankruptcy in the U.S. Bankruptcy Court for the Northern District of Georgia at 2:49 p.m.

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                                      FINDINGS OF FACT

       This case relates to the July 7, 2020, foreclosure sale of the real property located at 971

Davis Drive, Atlanta, Georgia 30327 (the “Property”). The Plaintiff testified that he believes the

current fair market value of the property is at least $1,500,000.00. Plaintiff purchased the Property

on December 15, 2015, and financed the purchase by obtaining a mortgage loan from Quicken

Loans for $632,000.00. To secure repaymentofthis loan, Plaintiff conveyed the Property via Deed

to Security Deed in favor of Mortgage Electronic Registration Systems. Inc., as nominee for

Quicken Loans, Inc., its successors, and assigns (the “Security Deed”). The Security Deed was

recorded on December 22, 2015, in Deed Book 55693, Page 175, Fulton County, Georgia records.

On March 20, 2018, MERSassigned the Security Deed to Redwoodvia an assignment recorded

on April 9, 2018, in Deed Book 58648, Page 281, Fulton County, Georgia records.

       At the hearing, the Plaintiff admitted that it has been at least three years since he made any

mortgage payment due under the Security Deed and did notraise any defense to paying the debt.

The Plaintiff further admitted that he did not tenderthe full amount due to Redwoodprior to the

initiation of the lawsuitorprior to the hearing. Becausethe Plaintiffwas in default on his mortgage,

Redwoodscheduled a foreclosure sale for July 7, 2020. There was no argument madethat notice

and advertisement ofthe sale was not in compliance with Georgia law. Rather, Plaintiff attempted

to introduce evidencethat he wastold by various non-parties to this suit that the sale would not be




However, the bankruptcyfiling does not impactthis case, as the automatic stay does not apply to
lawsuits filed by the debtor. Thomas v. Blue Cross and Blue Shield Ass’n, 333 F. App’x 414, 420
(11tth Cir. 2014) (citing Crosby v. Monroe County, 394 F.3d 1328, 1331 n.2 (11th Cir. 2004))
(citations omitted). The automatic stay also does not prevent defendants from opposing a lawsuit
filed by a debtor. Jd. at 421 (citing Martin-Trigona v. Champion Fed. Sav. and Loan Ass'n, 892
F.2d 575, 577 (7th Cir. 1989)). Additionally, as a Chapter 13 debtor, the Plaintiff retains standing
to prosecute pre and post-petition lawsuits. Evans v. First Mount Vernon, ILA, 786 F. Supp. 2d
347, 353 (D.D.C. 2011) (collecting cases). As such, this case will proceedin its normal course.

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taking place on July 7. In particular, the Plaintiff focused on the argument that someoneat the

Fulton County Sheriffs Department told himor his agent, Natalie James,that no public or private

non-judicial sales would be taking place on July 7. However,the totality of the testimony on that

point wasruled to be hearsay and has been excluded by the Court and not considered in this

decision. The Plaintiff did call Natalie Jamesas a witness, whois a non-attorney hiredto assist the

Plaintiff in obtaining a loan modification. Plaintiff attempted to introduce evidence that Ms. James

wasalso of the understanding, based solely on excluded hearsay,that the sale would not take place

on July 7 andthat she was in communication with the Plaintiff on this point. Notably, Ms. James

attemptedto testify as to her understanding of Georgia law concerningthe receipt of payoff quotes

before a foreclosure sale and whethersales can take place on days whenthe Sheriff is not holding

Judicial sales. However, Ms. James admitted during cross-examination that, on behalf of the

Plaintiff, she contacted the law firm conducting the foreclosure sale on July 6 and requested a

payoff and reinstatement quoteto try to stop the sale “scheduled for tomorrow.”

       The sale proceeded on July 7, 2020, and the Property was sold to Heritage for

approximately $841,000.00. On behalf of Heritage, Ian Clark testified that multiple bidders were

on handfor the sale and that bidding started at approximately $740,000.00. Competitive bidding

drove the sales price up nearly $100,000.00 from the openingbid. Mr. Clark furthertestified that

the sale took place outside on the courthouse steps of the Fulton County Courthouse, that all

bidders for this particular sale were wearing face coverings as protection from COVID-19, and

that deputies from the Fulton County Sheriff's Department were observing the sale from inside the

doors of the courthouse. Mr. Clark furthertestified that he estimated approximately 40 bidders on

handfor other sales and that every person he observed was wearing a face covering.
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       The Plaintiff argued that this sales price was grossly inadequate and that the inadequate

price wascaused by an administrative orderof this Court that he contends turned away prospective

bidders. On June 12, 2020, Chief Judge ChristopherS. Brasher issued an Administrative Order

related to COVID-19 titled In re: Atlanta Judicial Circuit Guidelines for Expanding In-Person

Proceedings, No. 2020-EX-000624 (the “Administrative Order”). Attached to the Administrative

Orderare a set of guidelines that court staff and the Sheriff's Department, are to follow before the

court allowing expanded in-person proceedingsin the Fulton County Courthouse.It also sets forth

social distancing guidelines and other safety considerations for court visitors to follow inside the

courthouse.

       The Plaintiff now seeks a temporary restraining order or an interlocutory injunction to

prevent Redwood from executing a deed to Heritage. The Plaintiff filed his Complaint and Motion

on August 5, 2020, in an attempt to set aside the foreclosure sale. The Complaint included a

documenttitled “Verification”, which was the Plaintiff's attempt to verify his pleading. The

documentdoesnot have any original signatures andis instead “/s/” by the Plaintiff and the notary.

The documentdoes not contain a notary seal. The Motionseeksan injunction on the following

grounds:

       a. The sale was conducted in a manner and under circumstances that
       Redwood/NewRez knew or should have known wouldresult in an inadequate price
       because personnel in the Fulton County Sheriffs Department and the Fulton
       County Superior Court Clerk’s office weretelling all callers that all such sales had
       been cancelled;

       b. The sale was conducted in a manner and under circumstances that
       Redwood/NewRezknew or should have known wouldresult in an inadequate price
       becauseit was conducted on a day whenthe Fulton County Sheriff had announced
       he would notpermit any sheriff’s sales and sales such as the foreclosure sale of Mr.
       Zilberberg’s property, by statute, are permitted to be conducted only on days when
       sheriffs sales are permitted;

       c. The sale was conducted in a manner and under circumstances that
       Redwood/NewRezknew orshould have known would result in an inadequate price

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       because it was conducted in violation of this Court’s standing order as issued on
       June 12, 2020, regarding court operations during the pandemic and anyone who
       attended risked being held in contemptof court;

       d. The sale wasillegal because Redwood/NewRez’s alleged authority to exercise
       the relevant powerofsale is derived from a “corporate assignment” that is, on its
       face, not credible, being allegedly executed by a company with a Michigan address
       throughits alleged agent with an Idaho address (which addressindicates she works
       for a different business) ostensibly before a witness and notary in South Carolina
       all related to property located in Fulton County, Georgia.

(Motion, pp. 2-3).

       Forthe reasons that follow, the Motion is hereby DENIED.

                                   CONCLUSIONS OF LAW.

       Under Georgia law, “[t]he granting and continuing ofinjunctions shall always rest in the

sound discretion of the judge, according to the circumstances of each case. This power shall be

prudently and cautiously exercised and, except in clear and urgent cases, should not be resorted

to.” O.C.G.A. § 9-5-8. The question, in this case, is what the groundsareto set aside a foreclosure

sale and whether those grounds have beensatisfied for purposes ofgranting injunctiverelief.

       When the requirements of the law or the mortgage are not obeyed in conducting a

foreclosure sale, whether by judicial process or undera powerofsale, the foreclosure sale will not

stand. See Coates v. Jones, 142 Ga. 237, 82 S.E. 649 (1914). Additionally, sales will not be set

aside unless one of the following six factors are present: (1) the indebtedness is not justly due; (2)

there is no actual default; (3) the sale was notproperly advertised; (4) the sale was not conducted

in the manner required by law; (5) bidding waschilled through nofault of the mortgagor; or (5)

the final bid price is grossly inadequate. A sale will not be set aside however, for mere inadequacy

of price. Instead, “[a] sale under power maybe set aside only when theprice paid is grossly in

adequate andthe sale is accompaniedbyeither fraud, mistake, misapprehension,surprise, or other

circumstances which authorized a finding that those circumstances contributed to bringing about
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the inadequacy of price.” Clairmont Dey. Co. v. Trust Co. Bank, 141 Ga. App. 180, 180, 233

S.E.2d 37 (1977)(citation omitted); see also Gunter v. Tucker Fed. Sav. and Loan Ass'n, 237 Ga.

806, 229 S.E.2d 662 (1976). Here, the Plaintiff contendsthat the only groundsthat exist for setting

aside the sale are that the sale was not conducted in the mannerrequired by law,that bidding was

chilled through no fault of his own,and that the sales price was grossly inadequate.

       Here,the basis for the Plaintiffs argument that the sale was not conducted in the manner

required by law is that the Sheriff's Department wasallegedly not conducting any Sheriff's Sales

on July 7, 2020. There was no evidence presented, however, to support this assertion, as all

attempts to make such proof were excluded as hearsay. As such, the Court finds that the sale was

conducted as required by law. Nevertheless, the Court finds this argumentalso to be unpersuasive.

Under 0.C.G.A. § 44-14-162(a), “[n]o sale of real estate under powers contained in mortgages,

deed, or other lien contracts shall be valid unless the sale shall be advertised and conducted at the

timeandplace and in the usual mannerofthe sheriffs sales in the county in whichsuchrealestate

ora part thereofis located .. . .” The time, place, and mannerof sheriff's sales are governed by

O.C.G.A. § 9-13-161. This statute provides that sales are to take place at the courthouse on the

first Tuesday of the month between 10:00 a.m. and 4:00 p.m. While there is no case law directly

on the question of whether a sale can take place on a day whenthesheriff is not conducting any

sales, there is case law whichstrongly suggests that a non-judicial sale is valid as longasit takes

place at the courthouseonthe first Tuesday of the month between 10:00 a.m. and 4:00 p.m. and

that sales do not need to be held exactly as the sheriff holds sales (i.e., if the sheriff holds sales

every month at 3:30 p.m. that a non-judicial sale can only be held that exact time). See Butler v.

Forsyth County Bank, 153 Ga. App. 122, 264 S.E.2d 502 (1980). Again, the Court finds that the

sale here was conducted as required by law and in the mannerofa sheriff’s sale.
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       The Plaintiff further argued that bidding waschilled through no fault of the Plaintiff. The

Court rejects this argument. The Court first finds that bidding was not chilled and finds the

testimony of Jan Clark to be persuasive. Mr. Clark testified that there was competitive bidding for

the Property and that due to this bidding,the final price was approximately $100,000 more than

the openingbid price.

       Next, the Plaintiff argued that the final sales price was grossly inadequate and was caused

by “fraud, mistake, misapprehension, surprise, or other circumstances.” “A sale under power may

be set aside only whentheprice paid is grossly in adequate andthe sale is accompanied byeither

fraud, mistake, misapprehension, surprise, or other circumstances which authorized a finding that

those circumstances contributed to bringing about the inadequacyofprice.” Clairmont Dev. Co.,

141 Ga. App. at 180; see also Gunter, 237 Ga. 806. There is no evidencein this case that there

was any type offraudulent or improper activity associated concerning the bidding. Mr. Clark

testified that the bidding was conducted outdoors, as it is every month. He furthertestified that

every person presentat the sale was wearing a maskandthat others participated in the bidding.

Mr. Clarkfurther testified that membersof the Sheriff's Department observedthesale from inside

the glass doorsofthe courthouse. The Court findsthat this doesnot giverise to any “fraud, mistake,

misapprehension, surprise, or other circumstances”that would warrantsetting aside the sale even

if the Court wereto find the sales price grossly inadequate.

       Although not discussed at length during the hearing, the Court further finds that the

Plaintiff's arguments concerning the alleged invalidity or other issues with the assignmentofthe

Security Deed cannot serve as a basis for granting an injunction. Georgia law provides that

borrowers,such as the Plaintiff, lack standing to challengethe assignment ofa security deed since
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the borroweris not a party to the assignment. Ames v. JP Morgan Chase Bank, N.A., 298 Ga. 732,

738-40, 783 S.E.2d 614 (2016).

       Evenif the Plaintiff had been able to persuade the Court on any of the points discussed

above, the Courtfindsthat he is entitled to an injunction.

       Before one who has given a deed to secure his debt can haveset aside in equity a
       sale bythe creditor in exercise of the power conferred bythe deed, and an injunction
       to prevent interference with the debtor’s possession of the property conveyed by
       the deed, he mustpay ortenderto the creditor the amount ofprincipal andinterest
       due. The tender cannot be conditioned on the cancellation of a lien. Neitherfraud
       nor poverty constitute an equitable excuse forfailure to tender.

Hill v. Filsoof, 274 Ga. App. 474, 475-76, 618 S.E.2d 12 (2005) (citations omitted).

       Here, the Plaintiff admitted that he did nottenderthe full amount due to Redwood. As such,

he cannot obtain an injunctionto set aside the sale or to prevent interference with his possession

of the Property. Additionally, a plaintiff seeking an injunction, in any case, cannot obtain an

injunction unless the petition is “verified positively by the petitioner or supported by other

satisfactory proofs.” O.C.G.A. § 9-10-110. The Court finds that the Complaint/Petition here was

not properly verified. As notedearlier, the only signatures on the purported verification were “/s/”

electronic signatures, but Georgia law requiresthat “in documentinga notarialact, a notary public

shall sign on the notarialcertification, by handin ink....” O.C.G.A. § 45-17-8.1 (emphasis added).

Since there are no signatures on the verification “by hand in ink,” the Complaint/Petition is not

properly verified as required by O.C.G.A. § 9-10-110 andthe Plaintiff is precluded from obtaining

an injunction.

       Lastly, an injunction is an equitable remedy. In lookingatthis point, the Court notes with

particularity that the Plaintiff was aware ofthe fact that he was in default. He was awareofthefact

that there was a pending foreclosure. And even more importantly, the testimony of Ms. Natalie

James wasalso persuasive concerningthis fact. The Plaintiff apparently, based on thetotality of
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circumstances of evidence presented, relied perhapsto his detriment on the advice of Ms. James,

a non-attorney, regarding the existence of the sale. Equity will not intervene under such

circumstances.

                                       CONCLUSION

       Based on the foregoing, the Motion is hereby DENIED.

       SO ORDERED,this 11th day of August 2020.




                                        atkTHOMASA. COX,JR., JUDGE
                                           SUPERIOR COURT OF FULTON/COUNT
                                           ATLANTA JUDICIAL CIRCUIT
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                              CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing “Amended
Motion for Relief and Notice of Hearing” upon all parties in this matter by placing a true
and correct copy of the same in the United States Mail with adequate postage thereon
addressed as follows:

Geoffrey Farrell Zilberberg
971 Davis Drive
Atlanta, GA 30327

U.S. Trustee
Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

      I further certify that the following parties were served via the ECF electronic
mail/noticing system:

Kathleen Steil
Kathleen Steil, Trustee
Ogier, Rothschild & Rosenfeld, PC
P. O. Box 1547
Decatur, GA 30031

       This the 26th day of August, 2020.

                                                  Respectfully submitted,
                                                  BLEVINS & HONG, P.C.


                                                  ______/s/________________
                                                  Soo J. Hong
                                                  Georgia Bar No. 129608
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